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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

JONATHAN ANOMALY,                                §
          Plaintiff,                             §
                                                 §       CIVIL ACTION No. 1:25-cv-233
v.                                               §
                                                 §
RATIONALWIKI FOUNDATION, INC.                    §
d/b/a RATIONALMEDIA FOUNDATION,                  §       JURY DEMANDED
TRENT TOULOUSE, LARRY WILL,                      §
SIMON HUGHES and JOHN DOES 1-2,                  §
            Defendants.                          §
                                                 §


                         VERIFIED COMPLAINT FOR DAMAGES


        COMES NOW the Plaintiff, JONATHAN ANOMALY, by and through undersigned

Counsel, Aaron T. Cress, Esq. (LATE NIGHT LAW, LLC), and hereby respectfully complains

and shows as follows.

                            PARTIES, JURISDICTION & VENUE

     1. Plaintiff Jonathan Anomaly, Ph.D. is an academic, entrepreneur, and resident of Texas.

     2. Defendant RationalWiki Foundation, Inc. d/b/a RationalMedia Foundation, is a New

Mexico nonprofit corporation and 501(c)(3), EIN XX-XXXXXXX, with its principal place of

business located in New Mexico, at 122 Girard Ave NE Albuquerque, NM 87106.

     3. Defendant Trent Toulouse is a resident of Albuquerque, New Mexico and a Board Trustee

of Defendant RationalWiki Foundation, Inc.

     4. Defendant Larry Will is a resident of Mount Airy, Maryland and a Board Trustee of

Defendant RationalWiki Foundation, Inc., who goes by the online pseudonym “Cosmikdebris.”

     5. Defendant Simon Hughes is a U.K. subject, a resident of Taiwan, and a Board Trustee of

Defendant RationalWiki Foundation, Inc., who goes by the online pseudonym “Spud.”
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   6. Defendant John Doe 1 is a resident of Kansas and a Board Trustee of Defendant

RationalWiki Foundation, Inc., whose identity is unknown to Plaintiff upon reasonable

investigation, and who goes by the online pseudonym “DuceMoosolini.”

   7. Defendant John Doe 2 is a Board Trustee of Defendant RationalWiki Foundation, Inc.,

whose identity is unknown to Plaintiff upon reasonable investigation, and who goes by the online

pseudonym “ApooftGneigol.”

   8. The Court has personal jurisdiction over the Defendants by virtue of their continuous and

systematic business contacts with New Mexico.

   9. Plaintiff invokes the Court’s subject matter jurisdiction under 28 U.S.C. § 1332, because

the matter in controversy exceeds the sum or value of $75,000, exclusive of costs and interest,

and because no Defendant is a resident of the same state as the Plaintiff.

   10. Venue is proper before the Court.

                                  GENERAL ALLEGATIONS

   I.      RATIONALWIKI FOUNDATION, INC. IS AN INFORMATION CONTENT
           PROVIDER

   11. Under 47 U.S.C. § 230, an “interactive computer service” is afforded certain protections

from civil liability. However, Section 230 distinguishes between an “interactive computer

service,” and an “information content provider,” which does not enjoy such protections.

   12. Section 230 defines an “interactive computer service” as “any information service,

system, or access software provider that provides or enables computer access by multiple users

to a computer server…” 47 U.S.C. 230(f)(2).

   13. Section 230 defines an “information content provider” as “any person or entity that is

responsible, in whole or in part, for the creation or development of information provided through

the internet or any other interactive computer service.” 47 U.S.C. 230(f)(3).



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    14. Defendant RationalWiki Foundation, Inc. (“RWF”) is an information content provider.

    15. RWF hosts, maintains and operates a website, at https://rationalwiki.org (the website,

hereinafter referred to as, “RationalWiki”).

    16. RWF was founded and incorporated in 2011 by Defendant Trent Toulouse, a resident of

New Mexico.

    17. Since 2011, Toulouse has served continuously as both a Board Trustee, and Operations

Manager, of RWF, and is the publisher of RationalWiki.

    18. The Operations Manager position is the sole operational position within RWF.

    19. As Operations Manager, Toulouse has the sole ability to alter settings and create

functions and extensions on the website server.

    20. Toulouse operates and manages RationalWiki—the website—from New Mexico.

    21. New Mexico is the principal geographic locus of RWF’s and RationalWiki’s operations.

    22. RWF is governed by a Board of Trustees. Other than Toulouse, and an individual named

David Gerard, all past and current Trustees use pseudonyms on RationalWiki.

    23. Since 2011, only twenty-seven individuals have ever served as Trustees of RWF.

    24. RationalWiki has over 8,000 discrete articles and millions of unique monthly visitors.

    25. RationalWiki’s “Community Standards” page was created and heavily edited by

Defendant Toulouse, and has been edited by Defendants Will, Hughes and Does 1-2 within the

last three years. The page states, inter alia, that: (i) RationalWiki articles should take a “snarky”

(meaning snide or derisive) tone; that (ii) RationalWiki has a “scientific point of view,” meaning

that “our articles take the side of the scientific consensus on an issue”; and that (iii) all content on

RationalWiki must conform to the “RationalWiki Mission.”

    26. The “RationalWiki Mission” page, in turn, states, inter alia, that:




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       The RationalWiki Mission is:

       1. Analyzing and refuting pseudoscience and the anti-science movement;
       2. Documenting the full range of crank ideas;
       3. Explorations of authoritarianism and fundamentalism.
       4. Analysis and criticism of how these subjects are handled in the media.

       We also have a fifth, unofficial purpose, which is to provide people who agree with the
       previously-stated goals a place to just hang out and have fun with like-minded people.

       RationalWiki is not a general encyclopedia; it does not require articles on every known
       subject. However, the wiki's mainspace welcomes many articles that do not relate to the
       primary missions of RationalWiki providing that they are factually accurate and of
       interest to the community at large. These include articles on general science, historical
       events and important individuals throughout the world.

   27. Various other policy pages on RationalWiki explicate and clarify this viewpoint further.

For example, each of the six underlined words in the above-quoted portion of the RationalWiki

Mission denotes a hyperlink, which opens a separate page containing an article on that topic, i.e.,

on “pseudoscience,” “authoritarianism,” etc. These articles further define what is meant by those

terms as they are used in the RationalWiki Mission statement and throughout RationalWiki.

   28. RationalWiki holds its content out as scientifically authoritative, and objective truth. For

example, a fundraiser banner that has appeared at the top of every page on RationalWiki since

late 2024 reads, in part, “Fighting pseudoscience isn’t free.” This banner links to a “Fundraiser”

page that was created by Defendant Toulouese and has been edited within the last year by

Defendants Will and Doe 2. That page states that, “we are hundreds of volunteers who document

pseudoscience and crankery around the world every day… [W]e believe we play an important

role in defending truth and objectivity.”

   29. RationalWiki claims that anyone with access to the internet can “edit” (i.e., contribute to

the content of) the website, by authoring or editing the articles that appear there, in the nature of

an interactive computer platform as defined under 47 U.S.C. § 230(f)(2).




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   30. This is not true in practice.

   31. A very particular, highly ideologized, and readily identifiable left-liberal view of what is

rational, what constitutes legitimate science, and what constitutes scientific consensus, pervades

all of RationalWiki’s articles, with virtually no variation.

   32. Editors’ contributions that contravene this viewpoint are quickly removed from

RationalWiki by a core of specialized editors, which includes Defendants Trent Toulouse, Larry

Will, Simon Hughes, and John Does 1-2.

   33. This core of specialized editors, including Defendants Toulouse, Will, Hughes, and Does

1-2, actively enforce RationalWiki’s Mission and viewpoint. Articles that are not “on mission”

are deleted and editors who do not uphold the Mission are blocked from contributing.

   34. These specialized editors include techs, moderators, and sysops.

   35. Techs, moderators, and sysops are elevated to their positions by the decision of other

techs and moderators, and are given authority to block and censor other editors and content in

order to enforce the “Mission.”

   36. Techs and moderators have more extensive authority to block and censor than sysops and

other editors do.

   37. While there are approximately 1000 sysops, there are only 15 techs (seven of whom,

including Defendants Will and Toulouse, are current and/or past RWF Board Trustees) and six

moderators (three of whom, including Defendants Hughes and Does 1-2, are current and/or past

RWF Board Trustees).

   38. Extensive canvassing of the articles on RationalWiki reveals that the vast majority of

articles appearing there have been edited by one or more past or current Board Trustees, and that

Defendants Toulouse, Will, Hughes and Does 1-2 have each edited thousands of articles within




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the last three years, and confer with one another, with other past and present Trustees, and with

other techs and moderators, about what content to alter or censor, in “Talk” pages linked to

hundreds of RationalWiki articles.

   39. RationalWiki’s Mission and viewpoint of what constitutes legitimate science are so rigid,

ideologized and dogmatic that, e.g., an article on the website, about the world-renown (and

thoroughly mainstream) physicist Michio Kaku describes Kaku as “a crank” who has

“unorthodox views,” and compares Kaku to the notorious conspiracy theorist David Icke (who

has no more than a high school education and is famous for propounding his belief on social

media that world leaders are “lizard people,” i.e., shape-shifting reptiles from another planet.)

   40. No particular background, knowledge, training, or credential—academic, scientific, or

otherwise—is required to be an editor, tech, moderator, or sysop of RationalWiki. The only

requirements are to adhere to RationalWiki’s Mission and uphold its point of view, and submit to

oversight, by the specialized editors, of the user’s content and “edits.”

   41. Most techs, moderators and sysops are anonymous and use pseudonyms on the website.

   42. An article created by Toulouse in 2011, titled “Legal FAQ,” has appeared on

RationalWiki continuously since that time. It describes RationalWiki as a “content producer.”

This article has been edited by Toulouse, by past Trustee and current tech David Gerard, as well

as by Defendant Will, under the pseudonym “Cosmikdebris.”

   43. Individuals who are the subject of laudatory articles on RationalWiki are those whose

views conform to the RationalWiki point of view. However, consistent with RationalWiki’s

Mission of “fighting [so-called] pseuydoscience,” most articles about individuals on

RationalWiki are disparaging and accuse the subjects of being fascists and pseudoscientists.




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    44. When a disparaging article about an individual appears on RationalWiki, this suggests

that the person who is the subject of the article is a crank, irrational, a fascist, a right-wing

extremist, or a promoter of pseudoscience.

    II.     DEFENDANTS ARE DEFAMING PLAINTIFF

    45. Plaintiff Jonathan Anomaly is a philosopher and economist who earned a B.A. from U.C.

Berkeley, a M.A. from Columbia University, and a Ph.D. from Tulane University.

    46. Dr. Anomaly has served as a visiting professor at Oxford University, and has taught in

PPE (politics, philosophy, and economics) programs at Duke University, U.N.C. Chapel Hill, the

University of Virginia, the University of Arizona, and the University of Pennsylvania. Dr.

Anomaly has authored dozens of peer-reviewed academic papers and is the co-author of

Philosophy, Politics, and Economics: An Anthology, a widely used college textbook, published

by Oxford University press.

    47. Plaintiff is not a public figure.

    48. RationalWiki contains an article titled “Jonathan Anomaly.” The article is dedicated to

portraying Dr. Anomaly as a fascist and his work as pseudoscience. The article was published on

RationalWiki in 2019 and has remained published and viewable on the website since that time.

The article has been edited within the last three years Defendants by Will, Hughes, and Doe 1.

    49. The article is false because Dr. Anomaly is not a pseudoscientist or a fascist, but is a

libertarian (or classical liberal), and has authored dozens of papers and articles where he

identifies as such and propounds libertarian ideas.

    50. The article states that Dr. Anomaly “has published articles for… the antisemitic [web]site

The Unz Review.”




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   51. This statement falsely suggests that Dr. Anomaly is an antisemite. No citation or evidence

is provided in the RationalWiki article to show that Dr. Anomaly may be an antisemite.

   52. The statement is also false because Dr. Anomaly has never published in The Unz Review.

Rather, in 2018, Dr. Anomaly co-authored an article in the online magazine Quillette, defending

Jews against antisemitism, called “What the Alt-Right Gets Wrong about Jews.” The Unz Review

(which is indeed an antisemitic publication) later re-published the original article from Quillette,

without permission, so that its readers would attack Dr. Anomaly and his co-author. Dr. Anomaly

subsequently contacted The Unz Review to demand removal of his article.

   53. The RationalWiki article about Dr. Anomaly goes on to state that “Anomaly defends

discredited theories on racialism…”

   54. This statement is false, as no scientific theory that Dr. Anomaly espouses is “discredited.”

   55. The underlined word in the above-quoted passage, as it appears in the article about Dr.

Anomaly, contains a hyperlink which opens a separate page on RationalWiki that displays an

article titled “Racialism” (which has been edited within the last three years by Defendants Will

and Doe 2), which defines what is meant by “racialism” as that term is used on RationalWiki.

   56. The RationalWiki article for “racialism” states that, “Racialism (also known as scientific

racism) is a set of far-right pseudoscientific ideas which hold that humanity can at all be

meaningfully divided into biological categories.”

   57. This statement is false, because the idea that humanity can be meaningfully divided into

biological categories is not “far-right” or “pseudoscience.” Many respected scientists and

academics hold this view on the basis of reliable data, without being fascists, or “far-right.”

   58. Because RationalWiki defines “racialism” in this manner, the article about Dr. Anomaly

falsely suggests that Dr. Anomaly is “far-right,” a fascist, and a “pseudoscientist.”




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   59. The article states that Dr. Anomaly’s “views concerning issues such as race and

eugenics have much in common with the alt-right.” The underlined portion of this statement, as it

appears in the article, denotes a hyperlink which opens another article on RationalWiki titled,

“Alt-Center.” That article has been edited by two past Trustees. Its opening paragraph states that,

       Alt-center or alt-centre is a misleading term sometimes used by HBD/race realist
       individuals in the alt-right community (i.e. white supremacists) who try to present
       themselves as political centrists and moderates because they realise if they openly
       admitted having a right-wing to far-right bias, this doesn't work too well with their
       bullshit claims of being “objective” scientists.

   60. This statement falsely suggests that being “right-wing” precludes legitimate scientific

practice and inquiry.

   61. The “Alt-Center” article contains a list of individuals to whom this description

supposedly applies, including Dr. Anomaly.

   62. This description is false, because Dr. Anomaly is not a “white supremacist.”

   63. The description is false inasmuch as it suggests that Dr. Anomaly misrepresents his ideas.

   64. The “Alt-Center” article contains a blurb beside the listing for Dr. Anomaly, which reads,

       Jonathan Anomaly: eugenicist crank and proponent of racialism and hereditarianism; like
       [Cambridge research fellow Nathan] Cofnas (who he co-authored an article with in
       Quillette) Anomaly tries to present himself as a centrist libertarian fighting against both
       alt-right and SJWs [or “social justice warriors,” a derisive epithet for leftists], when his
       views on race and intelligence and eugenics are shared by the alt-right.

   65. This statement is false because Dr. Anomaly is actually a libertarian and has never

misrepresented himself as such.

   66. The statement is false because Dr. Anomaly is not part of the “alt-right” and has

published numerous articles condemning racial hate, neo-Nazism and antisemitism.

   67. The article about Dr. Anomaly goes on to state that, “Anomaly's race and eugenics papers

are often cited by holocaust deniers, alt-right and white nationalists.”




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   68. This statement is false: Dr. Anomaly’s work is not “often cited by holocaust deniers, alt-

right and white nationalists.” No source is cited for this statement, and no indication is given of

what is meant by the word, “often.”

   69. The statement falsely suggests that Dr. Anomaly’s work is particularly beloved by, or

particularly encouraging to, Holocaust deniers and white nationalists, and falsely implies that Dr.

Anomaly himself is a Holocaust denier and a white nationalist.

   70. Dr. Anomaly is the subject of a verified Google Scholar profile which shows that he has

published no fewer than forty-nine (49) academic papers, mostly on philosophy and bioethics;

and that these papers have been cited by other academics at least 1206 times, giving Dr. Anomaly

a respectable h-index of 21. None of the academics who have cited these papers is an

“[H]olocaust denier,” “alt-right,” or a “white nationalist.”

   71. Each of the underlined words in the above-quoted passage, as it appears in the article

about Dr. Anomaly, denotes a hyperlink which opens a separate page on RationalWiki,

containing an article on that topic, i.e., on “holocaust deniers,” “alt-right,” and “white

nationalism.” These articles further define what is meant by each of those terms, as used in

RationalWiki.

   72. The article on “holocaust deniers” has been edited within the last three years by

Defendants Will, Hughes, and Doe 1. The articles on “alt-right” and “white nationalism” have

each been edited within the last three years by Defendant Will.

   73. The article about Dr. Anomaly goes on to state,

       In 2023-2024, Anomaly was a speaker at conferences attended by white nationalists and
       neo-Nazis including the Natal Conference, Vitalia and Manifest... Anomaly spoke at
       a Vitalia conference in Jan-Feb. 2024, alongside the white nationalist Anatoly Karlin.

   74. Dr. Anomaly did not “sp[eak] alongside” Anatoly Karlin.




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   75. Each of the underlined portions of this statement denotes a hyperlink which opens

another article on RationalWiki, one titled “Natal Conference,” and one titled “Vitalia.”

   76. No other source for the statement (that “Anomaly was a speaker at conferences attended

by white nationalists and neo-Nazis”) is cited in the article about Dr. Anomaly.

   77. The “Natal Conference” article (which was edited within the last three years by

Defendant Will) does not show that any neo-Nazis ever attended a “Natal Conference” with Dr.

Anomaly.

   78. The Natal and Vitalia Conferences, including those attended by Dr. Anomaly, are

attended by academics and Silicon Valley biotech start-up founders. Manifest is a prediction

market conference attended by investors and statisticians.

   79. The “Vitalia” article (which was edited within the last three years by Defendant Will)

states that, “The [Vitalia] conferences have also attracted eugenicists and white nationalists,

notably Jonathan Anomaly…”

   80. This statement is false, as Dr. Anomaly is not a “white nationalist.”

   81. The underlined word “eugenicists” in the above-quoted passage, as it appears in the

“Vitalia” article on RationalWiki, denotes a hyperlink which opens a separate page on

RationalWiki that displays an article titled, “Eugenics,” which further defines what is meant by

that term as used on RationalWiki.

   82. The “Eugenics” article (which has been edited by Defendant Toulouse, and was edited

within the last three years by Defendants Will and Doe 1) defines eugenics as “the purported

study of applying the principles of artificial selection and selective breeding through

altering human reproduction with the goal of changing the relative frequency of traits in a human

population.” It goes on to state that, “Most eugenicists believe that the goal of humanity is to




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achieve racial purity and exterminate people they deem not racially pure [through] abortion,

forced sterilization, and mass murder.

   83. Because RationalWiki defines “eugenics” in this manner, the “Vitalia” article falsely

suggests that Dr. Anomaly is a pseudoscientist (engaged in “purported study”) who advocates

“racial purity” and “mass murder.”

   84. The article about Dr. Anomaly goes on to state,

       As part of an undercover investigation by Hope not Hate, Anomaly in October 2024 was
       exposed as the co-founder of a biotech-eugenics company named PolygenX, which
       claims to have “developed a way for parents pursuing IVF treatment to analyse the
       genetic data of their embryos and identify which of them will have the
       highest IQ.”[20] HnH has revealed PolygenX has ties to neo-Nazi Martin Sellner.

   85. This statement is false, as PolygenX does not “ha[ve] ties to neo-Nazi Martin Sellner.”

   86. As the source for its claim that PolygenX “has ties to neo-Nazi Martin Sellner,” the

footnote in the above-quoted passage of the article about Dr. Anomaly contains a hyperlink to an

article on the Hope not Hate website, titled “The Superbaby Factory,” which states that,

       During a call with our undercover reporter in November 2023, Tobias Wolfram was
       introduced as the Chief Science Officer of PolygenX… We can reveal that Wolfram has
       been a member of the closed Telegram chat of Martin Sellner, the Austrian far-right
       activist who leads the Identitarian Movement (Identitäre Bewegung).

   87. The Telegram web app combines features of a messaging app and social media platform,

and a Telegram “chat” is akin to a Facebook page devoted to a discussion topic, which any user

of the platform may request to join, subject to approval by the moderator who manages the page.

   88. As with any other social media platform, users of Telegram may follow or “join”

numerous “chats” on a range of topics without this denoting advocacy of every view, or any

view, expressed there by other users.




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   89. Tobias Wolfram, as an individual, having “been a member of the closed Telegram chat of

Martin Sellner,” even if true, does not support RationalWiki’s statement, in its article about Dr.

Anomaly, that “PolygenX has ties to neo-Nazi Martin Sellner.”

   90. In their capacitates as individual persons with interests and pastimes outside of work,

employees and even officers of a company, like virtually anyone alive on Earth in the 21st

century, may follow any number of topical “chats” or pages on social media platforms without

implicating their employer in having “ties” to the moderators of those “chats” or pages.

   91. Other than the allegation that “Wolfram has been a member of the closed Telegram chat

of Martin Sellner,” the Hope not Hate article contains no other information that would support

the claim, in RationalWiki’s article about Dr. Anomaly, that “HnH has revealed PolygenX has

ties to neo-Nazi Martin Sellner.”

   92. The article about Dr. Anomaly goes on to state that,

       Anomaly co-authored an article “We shouldn't obsess about race and IQ, but we should
       openly discuss it” that defends racialism and hereditarianism. In regard to the latter, he
       cites with approval the dubious research of HBD pseudoscientist Gregory Cochran.[42]

   93. This statement refers (and hyperlinks, in the footnote) to an article titled, “A Reply to

John McWhorter,” authored jointly by Dr. Anomaly and Brian Boutwell, a professor of

criminology at the University of Mississippi. The article was published in the National Review, a

thoroughly mainstream publication sold in airports and available in public libraries nationwide.

   94. Gregory Cochran is a Ph.D. physicist and popular author who was also a researcher in the

Department of Anthropology at the University of Utah for over a decade. The above-quoted

passage from the article on Dr. Anomaly contains a hyperlink to a RationalWiki article about

Cochran, which is full of moral opprobrium and epithets like “lowbrow” and “stupid.” However,

no source or reasoning is provided (either in the article about Dr. Anomaly, or the one about




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Cochran) for why Cochran’s research is “dubious” or why Cochran is a “pseudoscientist,” other

than RationalWiki’s disagreement with some of his ideas.

   95. Each of the underlined words in the above-quoted passage, as it appears in the article

about Dr. Anomaly, denotes a hyperlink which opens a separate page on RationalWiki,

containing an article on that topic, i.e., on “racialism,” “hereditarianism,” etc. These articles

further define what is meant by each of those terms, as used in RationalWiki.

   96. As already stated herein, the RationalWiki article for “racialism” states that,

“Racialism (also known as scientific racism) is a set of far-right pseudoscientific ideas which

hold that humanity can at all be meaningfully divided into biological categories.” The article for

“hereditarianism” also defines the term as denoting a form of “pseudoscience.”

  97. Because RationalWiki defines “racialism” this way, the article about Dr. Anomaly falsely

suggests that he is “far-right” and a “pseudoscientist” for authoring the National Review article.

  98. That National Review article referred to (in the article about Dr. Anomaly) can hardly be

considered “far-right” or “pseudoscientific.” Rather, the National Review article states that,

       Whatever we discover about group differences, we should promote a culture of tolerance
       and oppose racism as a matter of principle… [But] there are serious moral dangers
       associated with avoiding public discussions of group differences. Chief among these are
       that, since people will always speculate about what creates differences between groups,
       the discussion will be left to racist cranks… because scientists and public intellectuals
       have avoided openly engaging with… empirically testable claims… about the sources of
       group differences.

  99. The RationalWiki article about Dr. Anomaly goes on to state that, “Anomaly was a

signatory to a petition organised by [the online magazine] Quillette supporting the disgraced

academic Noah Carl who was sacked from University of Cambridge for his links to white

nationalists like Emil Kierkegaard and publishing Islamophobic papers in the OpenPsych

pseudojournals.[50]”




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   100. This statement falsely suggests that Dr. Anomaly signed a petition in support of white

nationalism, Islamophobia, and pseudoscience.

   101. In fact, the petition Dr. Anomaly signed was in support of academic freedom, and was

signed by hundreds of scientists and academics at universities around the world, including

Harvard, Stanford, NYU, Oxford, Cambridge, and the University of Chicago. The petition has

been published and continuously viewable on the Quillette website since May 2019.

   102. Despite the ready availability, online, of the actual petition that Dr. Anomaly signed, in

the very publication that the above-quoted passage refers to, the only source cited for the claim

that Dr. Anomaly had signed this petition is an obscure Twitter post linked in the footnote, which

does not show the petition, or link to it.

   103. A particularly vindictive passage of the RationalWiki article about Dr. Anomaly states,

        In September 2021, Anomaly filed a misleading defamation complaint to Google in an
        attempt to deindex this article. The complaint was unsuccessful. Anomaly lied in his
        complaint to falsely claim the article said he advocates sterilizing undesirable people. The
        edit history of the page instead shows this statement was never there, rather, that he
        argued [that] “the right of the state to forcefully sterilize undesirable people” is “morally
        defensible.” This is apparently sourced to his writings.[79]

   104. This statement is false—Dr. Anomaly did not “lie[] in his complaint” to Google. Rather,

as of September 2021, when Dr. Anomaly submitted his complaint form to Google, the

RationalWiki article about him did indeed falsely suggest that Dr. Anomaly advocates forced

sterilization of undesirable people.

   105. The statement was false because Dr. Anomaly did not “argue [that] ‘the right of the state

to forcefully sterilize undesirable people’ is ‘morally defensible.’”

   106. The footnote in the above-quoted passage is not “sourced to [Dr. Anomaly’s] writings.”

Rather, it contains a hyperlink to an article by another author, Matthew Sears, titled, “Anomaly

and Academia: Is the Left Really Afraid of Honest Inquiry?”



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  107. The Sears article, in turn, refers and links to a 2018 article by Dr. Anomaly in the Monash

Bioethics Review titled, “Defending Eugenics.” Monash Bioeth. Rev. (2018) 35:24–35, doi:

10.1007/s40592-018-0081-2.

  108. Dr. Anomaly’s Monash article does not suggest that forced sterilization of “undesirable

people” is “morally defensible.”

  109. Rather, it argues, in reference to the Supreme Court’s 1927 decision in Buck v. Bell

(which upheld forced sterilization of the intellectually disabled, not “undesirable people”) that

“the moral foundations of the decision are defensible” because,

       a citizen can be required to undergo a procedure if the cost to him is trivial compared to
       the social benefits. Nearly all moral theories hold this view, though people disagree about
       the magnitude and certainty of benefits we would need in order to justify the expected
       costs to the person being vaccinated, sterilized, or otherwise coerced.

  110. Dr. Anomaly’s Monash article notes that the Buck v. Bell opinion compared sterilization

of the intellectually disabled to compulsory vaccination against smallpox.

  111. In the article, Dr. Anomaly argues that, “Compulsory sterilization is far more

controversial than compulsory vaccination because of the degree of invasiveness,” but argues

that, “[t]he state may (in some cases) restrict someone’s liberty if their mental capacity

undermines their ability to make voluntary choices, and if their choices put them at serious risk

of causing far-reaching and irreversible harm to themselves [or] to others.”

  112. Dr. Anomaly has been explicit, in numerous popular and academic articles, including the

one in the Monash Bioethics Review, that he is opposed to forced or coerced sterilization. Dr.

Anomaly also makes this clear in his book, Creating Future People: The Ethics of Genetic

Enhancement, published by Routledge in 2020, which discusses at length, and with due moral

and philosophical seriousness, genetic technology like embryo selection and gene editing.




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  113. The RationalWiki article about Dr. Anomaly refers to serious and measured academic

writing on moral philosophy and bioethics, and falsely suggests (without directly citing,

referencing, or linking to those writings) that Dr. Anomaly advocates for the arbitrary and

capricious forced sterilization of “undesirables.”

  114. Dr. Anomaly is mentioned and written about in several other articles on RationalWiki.

  115. One such article, titled, “PolygenX” falsely states, “PolygenX… is a biotech-eugenics

company co-founded by Jonathan Anomaly. The company has ties to neo-Nazi Martin Sellner.”

  116. The “PolygenX” article alse falsely states that, “Anomaly published an article on the

Holocaust denial website The Unz Review.”

  117. As another example, an article titled, “Eugenics” states that,

       Liberal eugenicists often exclude the [negative historical] aspect of eugenics from their
       definitions [and] cherry-pick[] their definition of eugenics… The most obvious reason
       why liberal eugenicists like Anomaly exclude “negative eugenics” from their definition
       of eugenics is the historical baggage so to speak such as old sterilization laws
       and segregation.

  118. This statement falsely suggests that Dr. Anomaly’s work misrepresents or whitewashes

the history of eugenics. However, in his 2018 article in Monash Bioethics Review (which is

linked in a footnote and referred to numerous times in the RationalWiki article about Dr.

Anomaly) Dr. Anomaly extensively addresses historical “negative eugenics” and treats the

subject with due seriousness and circumspection.

  119. RationalWiki organizes its articles into hundreds of categories. Most articles are

categorized into multiple categories.

  120. RationalWiki’s “Jonathan Anomaly” article is labeled with (and listed on RationalWiki

under) the following categories: “Racism,” “Alt-Right,” “Racialism pseudoscientists,” “Racists,”

“Fascists” and (bizarrely) “Jews.”




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  121. By listing Dr. Anomaly’s name under these categories, RationalWiki falsely suggests that

Dr. Anomaly is a fascist and a pseudoscientist.

  122. In 2021, in a group discussion page on RationalWiki, the article about Dr. Anomaly was

proposed for deletion on notability grounds. The proposal was voted down by eight editors

including one tech, two moderators a former Trustee, Defendant Will, and one then-Trustee who

provided commentary explaining why he or she was downvoting the proposal.

  123. In 2022, in a group discussion page on RationalWiki, the article about Dr. Anomaly was

again proposed for deletion on notability grounds. The proposal was voted down by eight editors

including one tech, one moderator, then-Trustee Defendants Will, then-Trustee Defendant

Hughes, all of whom provided commentary explaining their downvotes of the proposal.

   III.    PLAINTIFF IS BEING DAMAGED

  124. The “Jonathan Anomaly” article was published on RationalWiki in 2019 and has

remained published and viewable on the website since that time.

  125. The article ranks on the first page of Google search results for Dr. Anomaly’s name.

  126. Because the article ranks on the first page of Google search results for Dr. Anomaly’s

name, Dr. Anomaly’s colleagues and potential business associates are likely to see it.

  127. To have an article appear prominently in Google search results for a person’s name,

which claims that the person is a fascist and a pseudoscientist, and implies that the person is a

Holocaust denier, is inherently damaging.

  128. In September 2024, Dr. Anomaly was invited by a colleague to speak at an academic

conference at the University of Munich, in Germany, scheduled for November 2024.

  129. In October 2024, the invitation was withdrawn due to the conference organizers’

misconception that Dr. Anomaly is associated with neo-Nazism.




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  130. This misconception was prompted by exposure of the conference organizers to the

“Jonathan Anomaly” article on RationalWiki.

  131. In October 2021, Dr. Anomaly was under consideration for a teaching position at Lingnan

University in Hong Kong. Dr. Anomaly underwent a series of job interviews for the position,

over the internet via videoconference. Faculty members responsible for making a hiring

determination regarded Dr. Anomaly as an outstanding candidate, and he was advanced to the

final round of interviews.

  132. During the final interview, one of the faculty members conducting the interview began

searching Google for Dr. Anomaly’s name, and was exposed the RationalWiki article about him.

Despite the other faculty members responsible for the determination all wishing to hire Dr.

Anomaly, the faculty member who was exposed to the RationalWiki article objected so strongly

that Dr. Anomaly was withdrawn from consideration for the position.

  133. Dr. Anomaly’s business and academic opportunities continue to be placed in jeopardy

(exactly as they were when he interviewed with Lingnan University) as a result of the

RationalWiki article and its appearance in Google search results, causing Dr. Anomaly ongoing

financial damages as well as mental anguish and suffering.

                             ENUMERATED CAUSES OF ACTION

       WHEREFORE the Plaintiff, JONATHAN ANOMALY, Ph.D., as a direct and proximate

result of Defendants’ misconduct, has been damaged, and hereby pleads the following causes of

action against Defendants, whom he seeks to hold liable:

                                          COUNT I
                                         Defamation
                                    Against All Defendants

  134. Plaintiff incorporates by reference all preceding paragraphs.




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  135. Defendants published false statements of fact about Plaintiff to third parties.

  136. Defendants published aforesaid false statements without privilege.

  137. Aforesaid third parties understood the false statements to have defamatory meaning.

  138. Defendants published the false statements while knowing they are false.

  139. Defendants published the false statements with reckless disregard for the truth.

  140. Defendants published the false statements negligently.

  141. As a direct and proximate result of Defendants’ defamation, the Plaintiff has suffered and

continues to suffer pecuniary damages and reputational harm, humiliation, mental anguish and

suffering, and is entitled to compensatory damages, punitive damages, pre- and post-judgment

interest, attorney’s fees and all costs of bringing this action, and such other and further relief as

the Court deems just and equitable.

                                           COUNT II
                                           Conspiracy
                                      Against All Defendants

  142. Plaintiff incorporates by reference all preceding paragraphs.

  143. Defendants intentionally agreed to defame Plaintiff.

  144. Defendants agreed to defame Plaintiff with knowledge of unlawfulness.

  145. One or more Defendants acted overtly in furtherance of aforesaid agreement.

  146. Defendants participated in the maintenance of a webpage dedicated to defaming Plaintiff,

by publishing, editing, and monitoring content on the webpage.

  147. As a direct and proximate result of Defendants’ conspiracy, the Plaintiff has suffered and

continues to suffer pecuniary damages and reputational harm, humiliation, mental anguish and

suffering, and is entitled to compensatory damages, punitive damages, pre- and post-judgment




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interest, attorney’s fees and all costs of bringing this action, and such other and further relief as

the Court deems just and equitable.

                                          JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

                                      PRAYER FOR RELIEF

WHEREFORE the Plaintiff, JONATHAN ANOMALY, Ph.D., hereby respectfully prays the

Court’s relief, as follows:

               I.      Compensatory damages in the amount to be proven at trial.

               II.     Punitive damages.

               III.    Pre- and post-judgment interest.

               IV.     Attorney’s fees and all costs of bringing this action.

               V.      Such other and further relief as the Court deems just and equitable.


                                                               Respectfully Submitted,

                                                               By: s/ Aaron Cress
                                                               Aaron T. Cress, Esq.
                                                               LATE NIGHT LAW, LLC
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                                                               Albuquerque, NM 87111
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                                                               Attorney for Plaintiff Jonathan
                                                               Anomaly, Ph.D.




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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW MEXICO

JONATHAN ANOMALY,                                    §
          Plaintiff,                                 §
                                                     §      CIVIL ACTION No.
v.                                                   §
                                                     §
RATIONALWIKI FOUNDATION, INC.                        §
d/b/a RATIONALMEDIA FOUNDATION,                      §
TRENT TOULOUSE, LARRY WILL,                          §
SIMON HUGHES and JOHN DOES 1-2,                      §
            Defendants.                              §
                                                     §


                                           VERIFICATION



STATE OF TEXAS                           )
                                         ) ss.
COUNTY OF TRAVIS                         )

           Jonathan Anomaly, of full age, being first duly sworn, upon his oath deposes and states as

follows:

     1. I am the Plaintiff in the present action.

     2. I am a resident of Travis County, Texas.

     3. I have read and reviewed the foregoing Verified Complaint for Damages.

     4. The matters alleged in the Complaint are true and correct to the best of my knowledge,

information, and belief.

     5. I have personal knowledge of myself, my activities, and my intentions, including those

set forth in the foregoing Complaint, and if called upon to testify I would competently testify

thereto.




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